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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


 RICHARD KADREY, et al.,
                                               Case No. No. 3:23-cv-03417-VC

               Individual and Representative
               Plaintiffs,
                                               AMICUS BRIEF OF
               v.                              COPYRIGHT LAW PROFESSORS

 META PLATFORMS, INC.,


              Defendant.
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                            STATEMENT OF INTEREST OF AMICI CURIAE

         Amici, listed in the Appendix, are professors who teach and have written about copyright

law and related subjects. Our sole interest in this case is in the development of copyright law in a

way that serves the public interest.1

                                         SUMMARY OF ARGUMENT

         Meta’s claim that its unauthorized copying of plaintiffs’ works to train its large language

models is fair use is a breathtaking request for greater legal privileges than courts have ever

granted human authors. It should be rejected. The use of copyrighted works to train generative

models is not “transformative,” because using works for that purpose is not relevantly different

from using them to educate human authors, which is a principal original purpose of all of

plaintiffs’ works. That training use is also not “transformative” because its purpose is to enable

the creation of works that compete with the copied works in the same markets – a purpose that,

when pursued by a for-profit company like Meta, also makes the use undeniably “commercial.”

Use of works to train large language models is also not a “nonexpressive use,” because it

incorporates the expressive choices of the authors of those works into the models. While

“intermediate copying” to enable the discovery of functional software interfaces has justifiably

been held to be a fair use, the copying at issue here has no such purpose. And while the measure

of actual damages for copyright infringement importantly does not include the value of skills

learned from infringing copies, limiting damages is crucially different from granting immunity

from all liability. Under all of those circumstances, the case for fair use is weak.




1 Counsel for the parties did not author this brief in whole or in part.
                                                                     No person other than Amici Curiae or their
counsel contributed money to fund preparation or submission of this brief. The Amici Curiae are submitting this
brief pursuant to the permission granted by Judge Chhabria in his order of April 1, 2025, Docket No. 513, Kadrey v.
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                                          ARGUMENT

  I.   META’S COPYING OF THE ENTIRETY OF PLAINTIFFS’ WORKS TO IMPART
       CERTAIN ABILITIES OR SKILLS TO ITS LARGE LANGUAGE MODELS IS NOT
       TRANSFORMATIVE

       Ever since the Supreme Court’s decision in Campbell v. Acuff-Rose Music, Inc., 510 U.S.

569 (1994), an important factor in fair use inquiry has been whether the copier’s use is

“transformative.” Id. at 579. A use can be “transformative” either because it modifies a particular

work in order to parody, comment on, or otherwise add new meaning to that particular work, see

id.; or because it uses that work for a purpose different from the purpose for which it was

created, and in a different market than the market for which the work was created. See

Authors Guild v. Google, Inc., 804 F.3d 202, 214-218 (2d Cir. 2015); Andy Warhol Foundation

for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 526, (2023); Rebecca Tushnet, Content,

Purpose, or Both?, 90 Wash. L. Rev. 869, 869–70 (2015) (distinguishing between content-

transformativeness” and “purpose-transformativeness”) Meta’s use is not “transformative” in any

of the meanings of that term.

       A.      Meta’s Copying Makes No Transformative Use of Plaintiffs’ Works Because It
               Does Not Parody, Comment On, or Add New Meaning to Any Particular Work

       The copying of reasonable portions of a copyright work can be a fair use if the result is an

altered work that “adds something new, with a further purpose or different character, altering the

first with new expression, meaning, or message.” Campbell v. Acuff-Rose Music, Inc., 510 U.S.

569, 579 (1994). However, Meta has copied plaintiffs’ works in their entireties, and its purpose

in creating its large language model is not to create a parody of any particular copyrighted work

in the training set, nor to comment on or otherwise add new meaning to any particular work in

that set. It would be the rarest of occasions on which an output of Llama contained enough of a



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particular work in the training set to amount to a prima facie infringement of that work under 17

U.S.C. § 106, and yet would be saved by the fair use defense under 17 U.S.C. § 107 because it

parodied, commented upon, or otherwise added new meaning to that training work. Thus, Meta’s

training use makes no “transformative use” of plaintiffs’ works in that sense of the term.

       B.      Meta’s Copying Does Not Have a Transformative Purpose Because a Central
               Purpose of Plaintiffs’ Works Has Always Been to Increase Knowledge and Skill

       The copying of a copyrighted work, even in its entirety, can also be a fair use if the

copying “serves a new and different function” than that for which the work was originally

created. Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 96 (2d Cir. 2014); Authors Guild v.

Google, Inc., 804 F.3d 202, 217 (2d Cir. 2015). Meta asserts that it is using the plaintiffs’ works

for a different purpose than that for which they were created. “The works that AI models are

trained on . . . were created for expressive purposes,” while “models use training data . . . to

develop an entirely new and innovative service that . . . produces valuable new content.” Meta

Platforms, Inc., Comments of Meta on U.S. Copyright Office’s Notice of Inquiry on Artificial

Intelligence & Copyright [Docket No. 2023–06], at 19 (Oct. 30, 2023). Meta’s fellow generative

AI developer, OpenAI, elaborates that while works like plaintiffs’ were created for their

“standalone entertainment value,” the generative AI developers are using those works for the

different purpose of “helping computer programs learn the patterns inherent in human-generated

media.” OpenAI, Comments of OpenAI on U.S. Copyright Office’s Notice of Inquiry and Request

for Comment [Docket No. 2023-06], at 11–12 (Oct. 30, 2023). Those assertions are false,

because they inaccurately describe both the original purpose of plaintiffs’ works, and Meta’s

purpose in engaging in the copying.

       Plaintiffs created their works, not just to “entertain” unchanging human beings, but to

inform, educate, and enlighten us. Regardless of the subjective intent of a work’s author in

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creating a work, we human beings are always learning from works, and are always learning

patterns that are spread across multiple works. Thus, the imputed purpose of those works must

include the development of knowledge and skills.

       Our human use of copyrighted works to gain knowledge or to acquire skills has never

been sufficient for a finding of fair use. If it were, then courts would routinely find almost all

unauthorized violations of the exclusive rights of copyright holders by humans to be fair use. The

reason is that such use tends to increase knowledge or build skill in the person who views the

movie, hears the song, or reads the book in much the same way as consuming more videos,

songs, and books improves Llama’s “knowledge” and its ability to produce substitutes for some

human literary creativity. See David Atkinson, Unfair Learning: GenAI Exceptionalism and

Copyright Law, https://ssrn.com/abstract=4975857 (2025). As the Supreme Court recognized in

Sony Corp. of America v. Universal City Studios, Inc., 464 U.S. 417 (1984), it is difficult to

distinguish between some human use that produces knowledge and other human use that doesn’t,

because all human use tends to increase the knowledge or skill of the user. “A teacher who

copies to prepare lecture notes is clearly productive. But so is a teacher who copies for the sake

of broadening his personal understanding of his specialty.” Id. at, 455 n. 40. Thus, the assertion

that plaintiff’s works were created only to entertain is false. The purpose of plaintiffs’ works, and

of all works authored by human beings, includes the acquisition of knowledge and skill.

       If Meta’s description of the original purpose of plaintiffs’ works is much too narrow, its

description of its own purpose is too broad and optimistic. Generating text, images, and other

works at the request of human beings may be an “entirely new service” in the sense that it has

never before been done by computers, but human beings have been providing that service for

millennia. Indeed, human beings are much more tested and proven creators of new knowledge



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than large language models. Over the period that copyright has protected authors, and even in the

time since large language models have existed, humans have done immeasurably more than large

language models to create new fields of study, solve complex novel problems, develop

innovative solutions and insightful theories, and create new genres of music and art.2 If the goal

is to increase knowledge and promote the progress of science and useful arts, there is far stronger

evidence to support a stance of giving humans free rein to use all copyrighted works than there is

to allow a for-profit corporation building a large language model to do the same. Thus, when

Meta and its supporters advocate for a virtually unrestricted right to reproduce and consume any

copyrighted work in the name of knowledge production, they are making an argument that

anyone should be allowed to consume any work without authorization or compensation to

copyright holders.

        Courts have never interpreted fair use so broadly, and for good reason. Such free-

wheeling disregard for copyright protections would certainly undermine and destroy the

incentives to continue progress in science and art over time. If human creators cannot share

information without the assurance that others will not be able to benefit from the information

unjustly–often to the detriment of the original creator–then they lose an incentive to create and

share whatever they do create. Even if human creators have non-economic motivations for

creating, the lack of copyright protection would deny them the opportunity to earn a living from

creating, and many of them wouldn’t be able to create as much, because they would have to earn


2 See, e.g., Thomas Wolf, “The Einstein AI model,” https://thomwolf.io/blog/scientific-ai.html:

      [R]eal scientific breakthroughs will come not from answering known questions, but from asking challenging
     new questions and questioning common conceptions and previous ideas. . . . In my opinion this is one of the
     reasons LLMs, while they already have all of humanity's knowledge in memory, haven't generated any new
     knowledge by connecting previously unrelated facts. They're mostly doing "manifold filling" at the moment -
     filling in the interpolation gaps between what humans already know, somehow treating knowledge as an
     intangible fabric of reality.
Wolf is the co-founder and Chief Science Officer of Hugging Face, Inc., “a company . . . that develops computation
tools for building applications using machine learning.” Wikipedia, “Hugging Face” (last accessed April 7, 2025)

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a living by doing something else. The professional authors who are the named plaintiffs in this

lawsuit, and thousands of others in the proposed plaintiff class, may write from love of writing,

but without copyright, they could not have produced all of the books that Meta has copied

without authorization. Thus, Meta’s purpose in copying plaintiffs’ works is not transformatively

different from the purpose for which they were produced, and that purpose, which includes

imparting knowledge and skill, cannot itself justify a blanket exemption from copyright liability.

       Since not only Meta, but OpenAI, Google, Anthropic, xAI, and many others are creating

generative AI models through unauthorized use of works protected by copyright, a decision in

Meta’s favor here will have the cascading effect of undermining the rights of copyright holders

in every domain rapidly, with ease, and at a scale unimaginable just a few years ago.

       C.      Meta’s Copying Does Not Have a Transformative Purpose Because Its Ultimate
               Goal Is to Enable the Creation of Works that Compete with Plaintiffs’ Works

       In its most recent fair use decision, the Supreme Court took pains to explain that the

“transformativeness” inquiry is not just about “new meaning or purpose” in the abstract, but is

also about whether the defendant’s use will end up competing in a market with the plaintiff’s

work. In Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 535

(2023) (“Warhol”) the Supreme Court held that the Andy Warhol Foundation did not make a

“transformative use” of the Andy Warhol silkscreen that copied from Lynn Goldsmith’s

photograph of the musician and composer Prince, because “[b]oth are portraits of Prince used in

magazines to illustrate stories about Prince.” Id. at 535. Even though the Warhol silkscreen and

the Goldsmith photograph were not “perfect substitutes,” the Warhol Foundation’s licensing of

the silkscreen “shared the objectives” of Goldsmith’s photograph. Id. More recently, in Thomson

Reuters Enterprise Center. GMBH v. Ross Intelligence. Inc., No. 1:20-CV-613-SB, 2025 WL

458520 (D. Del. Feb. 11, 2025) (“Ross Intelligence”), the District of Delaware, citing Warhol,

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held that Ross Intelligence’s use of Westlaw headnotes to train an AI legal research tool was not

transformative because their product was going to be competing with Westlaw. Id. at *7.

       Here, Meta’s ultimate purpose in copying plaintiff’s works “shares the objective” of

those works. Meta wants Llama to produce output that competes with its training works. It is not

surprising that an online market for freelance writing experienced a marked decline in demand

immediately after the November 30, 2022 public release of OpenAI’s ChatGPT service. See Jin

Liu, Xingchen Xu, Xi Nan, Yongjun Li, and Yong Tan, "Generate" the Future of Work through

AI: Empirical Evidence from Online Labor Markets, https://arxiv.org/abs/2308.05201 (last

revised June 6, 2024). Suddenly, ChatGPT, another large language model, was competing with

the works that freelance writers had created or could create. Nor is it surprising that “stock” is

the single most common word (other than prepositions and articles) in a set of 400 million

image-text pairs used to train Stable Diffusion and other text-to-image models. See Robert

Brauneis, Copyright and the Training of Human Authors and Generative Machines, 48 Colum. J.

L. & Arts 1, 38, 38 n. 124 (2025). Text-to-image tools are being trained on the stock images that

their outputs are most likely to replace.

       To be sure, not every generative AI output competes with every work in the training set.

In the end, though, the point is that all human authors have had to pay something, directly or

indirectly, for most the works from which they have learned, because that is how the copyright

system justifiably works. Meta now wants to compete against human authors, past and future,

without having to pay for the works from which Llama learns, while the human authors continue

to have to pay. That puts human authors at an unfair disadvantage entirely separate from

whatever technical advances may make Llama faster and cheaper. Fair use should not be the

means by which Meta achieves that unfair advantage.



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 II.   META’S PURPOSE IN TRAINING LLAMA IS UNDENIABLY COMMERCIAL

       The first enumerated fair use factor in § 107 of the Copyright Act is “the purpose and

character of the use, including whether such use is of a commercial nature or is for nonprofit

educational purposes,” 17 U.S.C. § 107(1) (emphasis added), and thus it is not surprising that

from its first fair use case to its most recent, the Supreme Court has held that the fact that a use is

“commercial” weighs against fair use. See, e.g., Sony Corp. of America v. Universal City Studios,

Inc., 464 U.S. 417, 448-450 (1984), Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 583–84

(1994); Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 531

(2023). Meta is a for-profit company, and its purpose in creating Llama is to make a profit.

While there are many ways that Meta could create revenue from Llama, we know about at least

one of them: Meta has revenue-sharing agreements with companies that host Llama services. See

Kyle Wiggers, Meta has revenue sharing agreements with Llama AI model hosts, filing reveals,

Techcrunch (March 21, 2025), https://techcrunch.com/2025/03/21/meta-has-revenue-sharing-

agreements-with-llama-ai-model-hosts-filing-reveals/. To be sure, the Supreme Court has also

held that when a use is “transformative,” the fact that it is commercial matters less. See Campbell

v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994). In this case, however, as explained

immediately above, Meta’s ultimate purpose is not transformative, but is instead to train a tool to

be able to generate output that competes with plaintiffs’ copied works. Thus, Meta’s use is

commercial to the core.

III.   META IS NOT MAKING “NONEXPRESSIVE USE” OF PLAINTIFFS’ WORKS

       Meta and its supporters argue that the models only train on the “nonexpressive” elements

of the copyrighted works in the training set. This presents two problems for them to overcome.

First, it is unclear why they believe that the way models “learn” from training data and produce


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expressive outputs is for legal purposes meaningfully different from how a human does the same.

Second, it incorrectly presumes that the models are only focused on nonexpressive elements.

       As for the first, Meta’s argument that it should be allowed to train on unauthorized works

because it is just learning from the works’ nonexpressive elements only makes sense if the

process is legally distinct from how a human learns when exposed to works. Meta implies that

humans learn from the expressive elements of, say, sentences, when reading a book, but when

Llama consumes a book, it only learns from the non-expressive elements. That is, it suggests that

humans are not learning to recognize patterns, understand context, or make associations between

words, sentences, and paragraphs. But of course, as humans, we do all of that.

       Words in isolation within a sea of text do not have meaning. If you open any book and

read a single word, it will reveal nothing. It is only in context that the words have any

significance. This context, in turn, is learned from repeated exposure. Reading is a skill, not an

innate ability. To read a book, the brain must constantly make assumptions and predictions based

on what the person has already read. If this is starting to sound like how models learn by deriving

associations between tokens, it should.

       In an effort to suggest enormous distance between the copyrighted training works and its

model, Meta quickly resorts to abstract technical language in describing how its models learn

from those works. Words are fragmented into “trillions of tokens”; “patterns and information”

are “extracted” from those tokens; and they are then converted into “billions of numerical

weights” in a complex model. Defendant Meta Platforms, Inc.’s (1) Notice of Motion and

Motion for Partial Summary Judgment; and (2) Opposition to Plaintiff’s Motion for Partial

Summary Judgment at 13 (March 28, 2025). Yet that effort to build remoteness from the

copyrighted training works fails. One might as well attempt to defend against a claim of human



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copyright infringement by describing the infringer’s experience and learning in similar abstract

technical detail. The infringement defendant didn’t “see” anything. Rather, many billions of

photons hit the book’s surface; some of those billions reached a lens, which focused them onto a

retina, which converted them into electronic signals, which then resulted in electronic and

chemical changes in some portion of over 100 billion neurons with over 100 trillion connections,

some of those changes being transitory, and others more permanent. The technical description of

human processing and learning is even more mysterious because not even expert specialists in

neuroscience know how the brain works at the neuronal level.

       The complexity and mystery of that description do not change the fact that the person

was reading the book and was gaining linguistic knowledge and skills that they could later use to

create their own literary works. In exactly the same way, the technical description of the

construction of Llama does not change the fact that Meta’s entire purpose is to have the model

produce ordinary text that people can read, and that can substitute for text that human beings

could have created. To hear Meta’s argument, one would think that when we as humans read a

book, we only see the expressive elements (whatever that may mean to Meta) and we only store

expressive elements in our neurons, so when we summarize a book or create a derivative work

we are relying on the expressive elements of the book we read, while Llama is only using the

non-expressive elements. That is an attempted illusion, generated by shifting the level at which

the processes are described.

       Second, if “expression” means the creative choices made by authors of copyrighted

works, then Meta’s use of those works is for the purpose of exploiting the expressive elements of

those works. See Robert Brauneis, Copyright and the Training of Human Authors and

Generative Machines, 48 Colum. J. L. & Arts 1, 22-26, 30-35 (2025) (distinguishing between



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different meanings of the term “expression,” and noting that large language models and human

authors both use the creative choices in the works from which they learn). Expression is the

specific means through which meaning is conveyed, by means of selecting and arranging specific

expressive elements. In other words, expression is not what you say, it’s how you say it. It is

which words you choose to use, in which order and with which juxtapositions. That is the only

thing copyright unambiguously protects in a literary work. See Harper & Row, Publishers, Inc.

v. Nation Enterprises, 471 U.S. 539, 547 (1985) (“The copyright [in a work] is limited to those

aspects of the work—termed ‘expression’—that display the stamp of the author’s originality.”).

And that is precisely what LLM training appropriates, incorporates into its models, and makes

lucrative use of. What Meta wants isn’t a model that “knows English,” but rather a model that

contains patterns taken from the way human authors actually express themselves. Indeed, Meta

wants something even more specific than this, which is why it does not just train its models on

human-authored works already in the public domain, which it could do without copyright

concern. Meta wants a model containing the patterns used by human authors in the here and

now. It wants a model capable of deciding, in response to a prompt, “What expression would the

actual contemporary human authors who wrote the works in my training set use to respond to

this?” That is why Meta chose to copy plaintiffs’ works without authorization.

       The case law Meta claims supports its position is unhelpful to it. Two of the cases --

Authors Guild, Inc. v. Google, Inc., 804 F.3d 202 (2d Cir. 2015), and Authors Guild, Inc. v.

HathiTrust, 755 F.3d 87 (2d Cir. 2014) -- are about Google Book Search, a product that enables

users to find books that contain search terms or strings the users enter, and thus tells users

something about the books. Unlike Llama, Google Book Search identifies particular books in

which users might be interested, with only limited display of “snippets” of those books; often



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provides links to facilitate purchase of the books by the user, and allows copyright owners to opt

out of the display of any text of the books. See Authors Guild v. Google, 804 F.3d at 208-210.

Similarly, in A.V. v. iParadigms, LLC, 562 F.3d 630 (4th Cir. 2009), the product -- a plagiarism

checker -- simply determined how much of the text that was to be checked matched the text of

some copyrighted work, thus revealing something about that copyrighted work.

       In none of those cases was the technology focused on exploiting the expressive elements

of the works for their expressiveness. Put differently, the expressiveness of the works was beside

the point. The technology at issue was content agnostic. None of the products would function

any differently if the book or paper scanned or uploaded to them consisted of random groupings

of letters rather than actual words and sentences. Meta and other LLM developers, on the other

hand, filter out such works because they rely on the expressiveness of the works.

IV.    META IS NOT ENGAGING IN ANY ALLOWABLE “INTERMEDIATE COPYING”
       OF PLAINTIFFS’ WORKS

       Meta and its supporters also argue that its use of plaintiffs’ works is fair because it is only

“intermediate copying” that does not appear in any final output of Meta’s models. Ironically, the

case that Meta and its supporters most frequently cite for the principle that “intermediate

copying” is always a noninfringing use, Sega Enterprises Ltd. v. Accolade, Inc., 977 F.2d 1510

(9th Cir. 1992). (“Sega”), explicitly and thoroughly repudiates that principle. In Sega, Accolade

argued that “intermediate copying does not infringe the exclusive rights granted to copyright

owners in section 106 of the Copyright Act unless the end product of the copying is substantially

similar to the copyrighted work.” Id. at 1517. The Ninth Circuit flatly rejected that argument.

“Neither the language of the Act nor the law of this circuit supports” Accolade’s arguments that

intermediate copying is never infringing. Id. at 1518. “[T]he Copyright Act does not distinguish

between unauthorized copies of a copyrighted work on the basis of what stage of the alleged

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infringer's work the unauthorized copies represent. . The intermediate copying done by Accolade

therefore falls squarely within the category of acts that are prohibited by the statute.” Id.

         Rather, both Sega and the subsequent Ninth Circuit decision in Sony Computer

Entertainment, Inc. v. Connectix Corp., 203 F.3d 596 (9th Cir. 2000) (“Connectix”), stand for an

important but much narrower principle of fair use. In both cases, the purpose of the copying was

only to identify the functional elements in operating system software, which enabled human

creators to then use their own creativity to develop games that could run on those operating

systems. As the District of Delaware recently held in Ross Intelligence, 2025 WL 458520, at *8,

“intermediate copying” outside of that context, such as the copies Ross Intelligence made to train

an AI legal research tool, does not deserve the same fair use treatment.

         Here, Meta is not training on books to learn functional properties so Meta can then

provide all of the creative expression that Llama will use to produce its outputs. In fact, Meta

provides none of the expressiveness the model depends on to be useful. Instead, Meta harvests

all of that expression from works authored by others. In the case of the works authored by the

plaintiffs in this case, it harvests that expression from works still under copyright and without

authorization from the copyright owners. That falls squarely outside of the fair use principle

developed in Sega and Connectix, and within the “intermediate copying” that Sega firmly

establishes as infringement and Ross Intelligence confirms is undeserving of fair use treatment.3


3 Closely related to the debunked “intermediate copying” escape hatch is the argument that training use is “internal

copying” that for that reason alone avoids all infringement liability. See [Proposed] Amicus Brief of Intellectual
Property Law Professors at 5 (filed March 31, 2025) (referring to “intermediate uses” as “internal copying”).
Trademark law observers will recall that tech companies that sold keyword advertising claimed that their use of
trademarks as keywords could not possibly ever infringe those trademarks, because their use of those trademarks
was “internal.” See, e.g., Memorandum of Law in Support of Defendant Google Inc.’s Motion to Dismiss at 5-10,
Rescuecom Corp. v. Google Inc., 5:04-cv-01055-NAM-GHL (N.D.N.Y., filed November 8, 2004). Yet the Second
and Ninth Circuits both eventually rejected that attempt to short-circuit the inquiry into likelihood of confusion. See
Rescuecom Corp. v. Google Inc., 562 F.3d 123, 130 (2d Cir. 2009) (squarely rejecting the position that “an alleged
infringer's use of a trademark in an internal software program insulates the alleged infringer from a charge of
infringement, no matter how likely the use is to cause confusion in the marketplace”); Network Automation, Inc. v.

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 V.      WHILE SOME OF THE VALUE THAT META DERIVES FROM ITS
         UNAUTHORIZED COPYING IS NOT WITHIN THE COPYRIGHT MEASURE OF
         DAMAGES, IT CANNOT CONVERT A LIMITATION ON DAMAGES INTO
         COMPLETE IMMUNITY FROM INFRINGEMENT LIABILITY

         One of Meta’s arguments boils down to the assertion that because some of the value that

it is gaining from infringement is not within copyright law’s measure of damages, there is no

infringement – or, put more simply, because it doesn’t owe everything, it owes nothing. The

error in that logic is self-evident. A limitation on damages serves a very important role, but its

purpose is not to abolish the tort altogether. If someone makes and reads an unauthorized copy of

a textbook on bookkeeping and learns how to practice bookkeeping from that text, the actual

damages in an infringement action do not include the earnings that the infringer makes from

subsequently working as a bookkeeper. See, e.g., Mark A. Lemley, The Fruit of the Poisonous

Tree in IP Law, 103 Iowa L. Rev. 245, 260-262 (2017). That limitation is in place in part to

separate the proper sphere of copyright law from that of patent law. As the Supreme Court held

in Baker v. Selden, 101 U.S. 99 (1880), “the copyright of [a] treatise [does not] give the

exclusive right to the art or manufacture described therein.” Id. at 102. Yet that does not mean

that making an unauthorized copy of a book for the purpose of learning the skill that it teaches

results in no infringement and no damages at all. Indeed, in the very same case, the Supreme

Court acknowledged that “a work on the subject of book-keeping . . . may be the subject of a

copyright . . . and, considered . . . as the work of an author, conveying information on the subject

of book-keeping, and containing detailed explanations of the art, it may be a very valuable

acquisition to the practical knowledge of the community.” Id. While the actual damages are


Advanced Systems Concepts, Inc., 638 F.3d 1137 (9th Cir. 2011) (also finding sufficient use in a keyword
advertising case, and engaging in a likelihood of confusion inquiry). Similarly, in the present case, the attempt to
deploy “internal copying” as a magic shield against copyright infringement liability should be rejected. Copying that
takes place “internally,” but with the purpose and effect of extracting expression for reuse in generative AI output,
should be infringing copying.

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limited to the profits that the copyright owner would have made from selling or licensing the

book, or to the profits that the unauthorized copier did make from selling or licensing the

infringing copy, see 17 U.S.C § 504 (b) (establishing the measures of actual damages for

copyright infringement), the copier is still liable for copyright infringement. Meta’s attempt to

alchemically transmute a limitation on damages into a grant of immunity fails.

VI.    CONCLUSION

       Meta’s use of plaintiffs’ works to train its large language model is a commercial use that

takes the expression in those works, that is not transformative, and that does not qualify as the

kind of “intermediate copying” that courts have found to be a fair use. Meta’s purpose is to

create a model that will produce outputs that compete with the works on which it was trained,

and with their authors. While the copyright actual measure of damages does not extend to all of

the value Meta has created by copying, that should not immunize it from all liability. Taken

together, these factors weigh conclusively against a finding of fair use.



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